       Case
MIED (Rev.        4:23-cr-20359-SDK-CI
           8/07) Notice of Correction             ECF No. 14, PageID.32 Filed 07/05/23 Page 1 of 1


                                            UNITED STATES DISTRICT COURT
                                            EASTERN DISTRICT OF MICHIGAN

United States of America


                   Plaintiff(s),                                           Case No. 23-20359

v.                                                                         Judge Shalina D. Kumar

Allen W. Clark                                                             Magistrate Judge Curtis Ivy, Jr.


                   Defendant(s).
                                                          /

                                                  NOTICE OF CORRECTION

         Docket entry number       9    , filed        06/26/23            , has been modified. The explanation for the correction

is stated below.

               The docket entry was made on the wrong case.
               The corresponding document image was missing or incomplete.
          ✔    The wrong document image was associated.
               The wrong judicial officer was listed on the case docket.
               The filer information was inaccurate or omitted from the docket text.
               The judicial officer information was inaccurate or omitted from the docket text.
               The docket text was changed to include the Partial Payment Order.
          ✔    Other: The correct image has been uploaded (substituted) to docket entry no. 9.



         If you need further clarification or assistance, please contact       the Clerk's Office        at (313) 234-5000 .



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Dated: July 5, 2023                                                 s/D.Peruski
                                                                    Deputy Clerk
